Case 4:96-cr-40071-JPG          Document 193          Filed 07/21/08      Page 1 of 3       Page ID #84




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS

  UNITED STATES OF AMERICA,

                  Plaintiff,

          v.                                                 Case No. 96-CR-40071-JPG

  LONNIE MCKINNIE,

                  Defendant.

                                  MEMORANDUM AND ORDER

         This matter comes before the Court on defendant Lonnie McKinnie’s pro se motion for a

 reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States Sentencing

 Guideline Manual (“U.S.S.G.”) § 1B1.10 (Doc. 192). McKinnie was sentenced in 1997 to be

 imprisoned for 151 months, followed by a term of supervised release, for conspiring to distribute

 crack cocaine. The Court reduced his sentence to 100 months pursuant to Federal Rule of Criminal

 Procedure 35(b). He served his prison time and was released, but he violated the terms of his

 supervised release, and the Court revoked his supervised release. He is currently in prison serving

 the revocation sentence. McKinnie now asks the Court to apply recent changes to U.S.S.G. § 2D1.1

 that he believes could, if retroactively applied, lower his sentencing range and, ultimately, his

 sentence.

         Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

 where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing range

 that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o).”

 In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and must ensure

 that any reduction “is consistent with applicable policy statements issued by the Sentencing

 Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence reduction under §
Case 4:96-cr-40071-JPG          Document 193           Filed 07/21/08   Page 2 of 3      Page ID #85




 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must have lowered the

 applicable guideline sentencing range, and (2) the reduction must be consistent with applicable

 policy statements issued by the Sentencing Commission.

 I.     Lowered Guideline Range

        McKinnie satisfies the first criteria because he was “sentenced to a term of imprisonment

 based on a sentencing range that has subsequently been lowered by the Sentencing Commission

 pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). McKinnie was sentenced in 1997 based on

 the base offense levels set forth in U.S.S.G. § 2D1.1(c). Amendments 706 and 711 amended

 U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense levels

 associated with various amounts of crack cocaine. The Sentencing Commission amended U.S.S.G.

 § 2D1.1(c) intending to alter the disparity in sentences involving crack cocaine and sentences

 involving powder cocaine. Thus, McKinnie satisfies the first criterion under 18 U.S.C. § 3582(c)(2)

 for obtaining a reduction in sentence because his sentencing range has been lowered following his

 sentence.

 II.    Consistency with Policy Statement

        As for the second criterion, the Sentencing Commission’s policy statement governing

 sentence reductions following guideline amendments is contained in U.S.S.G. § 1B1.10. That

 section provides that the guideline range reduction contained in Amendments 706 and 711 may be

 applied retroactively pursuant to 18 U.S.C. § 3582(c)(2) to reduce previously imposed sentences

 with certain limitations. U.S.S.G. § 1B1.10(a)(1) & (c). Thus, the Court now has discretion under

 18 U.S.C. § 3582(c)(2) to reduce the sentences of some defendants sentenced for offenses involving

 crack cocaine.

        However, not all defendants whose sentences were based, in whole or in part, on

 involvement with crack cocaine are eligible for such a reduction. For example, the application notes

                                                   2
Case 4:96-cr-40071-JPG          Document 193           Filed 07/21/08    Page 3 of 3      Page ID #86




 to U.S.S.G. § 1B1.10(a) plainly provide that a § 3582(c)(2) reduction is not authorized where the

 guideline amendment “does not have the effect of lowering the defendant’s . . . guideline range

 because of the operation of another guideline or statutory provision (e.g., a statutory mandatory

 minimum term of imprisonment).” U.S.S.G. § 1B1.1 app. note 1(A).

         McKinnie is currently imprisoned as the result of a sentence imposed via a revocation

 proceeding. Under § 1B1.10, only defendants imprisoned as a result of an “original” sentence

 qualify for § 3582(c)(2) sentence reduction. See U.S.S.G. § 1B1.10 app. note 4(A) (“Only a term of

 imprisonment imposed as part of the original sentence is authorized to be reduced under this section.

 This section does not authorize a reduction in the term of imprisonment upon revocation of

 supervised release.”). Thus, a reduction of McKinnie’s sentence would be inconsistent with the

 policy statement set forth in U.S.S.G. § 1B1.10, and therefore is not authorized by 18 U.S.C. §

 3582(c)(2).

         In sum, the Court has no discretion to reduce McKinnie’s sentence because he is not eligible

 for such a reduction. Accordingly, the Court DENIES McKinnie’s motion to reduce sentence (Doc.

 192).

 IT IS SO ORDERED.
 DATED: July 21, 2008.

                                                         s/ J. Phil Gilbert
                                                         J. PHIL GILBERT
                                                         DISTRICT JUDGE




                                                   3
